Case 1:19-cv-00389-ACK-KJM Document 19 Filed 09/20/19 Pagelof2 PagelD#: 123
FILED IN THE
UNITED STATES DISTRICT COURT

DISTRICT OF HAWAII
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HB Productions, Inc., Civil No. 19-00389 ACK-KIM
RECEIVED BY MAIL

IP ADRESS 98.155.128.28
DEFENDANT’S OBJECTION TO
SUBPOENA

Plaintiff,
Vs.
KENNETH EVANS CHARTER CASE NUMBER: 87042

Defendant. FILED UNDER SEAL

 

OBJECTION TO SUBPOENA FOR INFORMATION DISCLOSURE

1 am officially submitting this objection to notify the United States District Court for the
District of Hawaii that I object to the subpoena for information disclosure, and request that the
subpoena be quashed. To maintain my privacy, | file this objection under seal.

BACKGROUND

My name is Kenneth Evans, and I am an active duty service member in the United States
Navy. I received a letter from Charter Communications on 7 September 2019, stating that the
plaintiff had filed a list of IP addresses with Spectrum for downloaded copyrighted material. In
this letter, 1 was issued a subpoena, which requires information disclosure. The alleged
copyrighted material is identified as “Hellboy.” One or both of my children, ages 9 and 5,
downloaded this movie for their personal use to watch. I have gone through their files and have
deleted the movie. | do not want my minor children involved with any court proceedings.
Therefore, to avoid this, I am filing this objection with the court.

DISCUSSION
For the record, four individuals are residing within my residence, and we all use and

share the same network. Two of those individuals, as stated above. are minors, and each
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of them has a laptop. I try my very best to keep a close monitor of their internet activity;
unfortunately, I unable to provide constant observation during my family’s computer use.
However, I request that the court, please refrain from having any litigations or civil lawsuits
brought against my family and me. At the initial time of the download, I was not aware of the
movie file in question.
CONCLUSION

I am not trying to detract from the legality of this matter, but in hopes to satisfy the court
and the plaintiff, I will implement the following action. I will rectify this situation by placing a
restriction on their laptops, blocking all websites that allow for the use of torrents. In doing so,
this will no longer be an issue and will eliminate the risk of downloading allegedly copyrighted
material. However, once again, | am requesting that my personal information remains
undisclosed from the plaintiff. Also, furthermore, I request that this subpoena be quashed.

Thank you for your time, understanding and consideration.

Kenneth wan
Kenneth Evans, pro se, on behalf of his
two minor children

Certificate of Service

Copy of the objection was served upon my internet service provider, Charter Communications,
by e-mail on 18 September 2019.

Charter Communications, Inc., Legal Department
12405 Powerscourt Drive, St. Louis, Missouri 63131

Kenneth Evans
